              Case 1:16-cr-00229-BAH Document 86 Filed 11/07/23 Page 1 of 1



          IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                               *
                                                        *
        VS.                                             *        CASE NO. 16-CR-229-BAH
                                                        *
 RUBEN OSEGUERA-GONZALEZ                                *        COURT ORDER


                                                 *********


       Upon consideration of the Joint Motion for an Order by the parties in the above-entitled matter, it is hereby

ordered that the request to advance the Pretrial Conference to November 17, 2023, at 9:30 a.m. is GRANTED.

       SO ORDERED.




                                                 ______________________________________
                                                 The Honorable Beryl A. Howell
                                                 United States District Court Judge
                                                 District of Columbia
